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MIE 800 Generic Notice of Hearing (Rev. 3/98)



                                                 UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION


          U.S.A.,
                                        Plaintiff(s),

          v.                                                          CASE NUMBER: 06-20015

          D1 WAYLAND MULLINS;                                         HONORABLE GEORGE CARAM STEEH
          D2 MICHAEL RICHARDSON,
                                        Defendant(s).
                                                             /


                                                            NOTICE OF:
                                                        STATUS CONFERENCE

                    You are hereby notified to appear before the Honorable George Caram Steeh, United
          States District Judge for the above proceeding on:



                                 DATE                             TIME                     CHAMBERS

                                                                                 Theodore Levin U.S. Courthouse
                          JUNE 6, 2006                           10:00 AM             and Federal Building
                                                                                  231 W. Lafayette, Room 238
                                                                                       Detroit, MI 48226


          (Attorneys only)




                                                        CERTIFICATE OF MAILING

                    I hereby certify that a copy of this notice was served upon attorneys of record on this date June 2,
          2006 by electronic mail.


          Date: June 2, 2006                                                s/Marcia Beauchemin
                                                                            Case Manager to the
                                                                            Hon. George Caram Steeh
                                                                            (313) 234-5175
